             Case 3:13-cr-00038-PGS                                   Document 192                 Filed 07/21/16                                                        Page 1 of 1 PageID: 880

 CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 12/03)
1. CIR.IDIST./ DIV. CODE  2. PERSON REPRESENTED                                                                                                                   VOUCHER NUMBER
                                        AMAECHI A. AHUAMA
3. MAG. DKT./DEF NUMBER                               4. DIST. DKT./DEF. NUMBER                   5. APPEALS DKT./DEF. NUMBER                                                          6. OTHER DKT. NUMBER
                                                      Cr._13-38-(03)_(PGS)
7. IN CASE/MATTER OF ‘(‘ase Name)                     8, PAYMENT CATEGORY                         9. TYPE PERSON REPRESENTED                                                           10. REPRESENTATION TYPE
                                                      l Felony         U Petty Offense                Adult Defendant    G Appellant                                                       (See Instructions)
                                                      D Misdemeanor    U Other                        Juvenile Defendant   Appellee
     USA V. AHUAMA
II    OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) Ifinore than one offense, list (up to jive, major offense.c charged, according to severity of offense.
     18:1 956(a)(1)(A)(i),(B)(i) LAUNDERING OF MONETARY INSTRUMENTS
12. ATTORNEY’S NAME (First Name, MI., Last Name, including any suffix),                            13. COURT ORDER
    AND MAILING ADDRESS                                                                             l1 0 Appointing Counsel                                                            [I C Co-Counsel
                                                                                                    U F Subs For Federal Defender                                                      LI R Subs For Retained Attorney
 fl      I r.hfisr E°’
         •,-1
                                                                                                    U P Subs For Panel Attorney                                                        LI Y Standby Counsel
 3131 Princeton Pike, Bldg. 3D, STE 200
                                                                                                  Pnor Attorney’s Name:
 Lawrenceville, NJ 08648                                                                              Appointment Dates:
                                                 ( (“1        A                                    U Because the above-named person represented has testified under oath or has otherwise
      Telephone Number:                          I’       I       —
                                                                       ‘“                         satisfied this Court that he or she (I)is financially unable to cmplos counsel and (2) does
                                                                                                  not wish to ivaive counsel, and because the interests ofjsslice so require, the attorney whose
14. NAME AND MAILING ADDRESS OF LAW FIRM (Only provide per instructions)                          name appears in Item 12 is appointed to represent this person in this case, OR
                                                                                                   U Other (See Inst,aiciio,is,)

                                     SAME                                                                                                                   Signature of Presiding Judge or By Order of the Court
                                                                                                                                                          7/21/2016

                                                                                                                  Date of Order                               Nunc Pro Tune Date
                                                                                                  Repayment or partial repayment ordered from the person represented for this service al time
                                                                                                  appointment.         U YES      LI NO

                         CLAIM FOR SERVICES AND EXPENSES                                                                                                                       FOR COURT USE ONLY
                                                                                                                             TOTAL                                 MATHJTECH.            MATH,TECH.
                                                                                   HOURS                                                                                                                        ADDITI N L
       CATEGORIES (4itacli i eini:ation of services with dates)                                                             AMOUNT                                  ADJUSTED              ADJUSTED
                                                                                  CLAIMED                                                                                                                         REVIEW
                                                                                                                            CLAIMED                                  HOURS                 AMOUNT
IS.    a. Arraignment ansi/or Plea                                                                                                 0.00                                                          0.00
       b. Bail and Detention Hearings                                                                                              0.00                                                          0.00
                                                                                                                                                          0.00                                      0.00
       c. Motion Hearings
       d. Trial                                                                                                             ,
                                                                                                                                                          0.00                                      0.00
       e. Sentencing Hearings                                                                       ‘           ‘       .           :‘/‘/
                                                                                                                                                          0.00                                      0.00
       f. Revocation Hearings                                                                                                                             0.00                                      0.00

       g. Appeals Court                                                                                                                                                                             0.00
       h. Other (Specfy on additional sheets)                                                                                                                                                       0.00
       (RATEPERHOUR=$                                    )   TOTALS:                       0.00                                                           0.00                0.00                  0.00
16.    a. Interviews and Conferences                                                               :        .-
                                                                                                                                                                                                    0.00
       b. Obtaining and reviewing records                                                               ‘
                                                                                                                                      /                   0_U                                       0.00
       c. Legal research and brief writing                                                                          .   .                     .
                                                                                                                                                      ‘
                                                                                                                                                                                                    0.00
       d. Travel time                                                                                                                     ‘   :.          DQ0                                       0.00
       e. Investigative and other work (Specify on additional sheets)                                       .                   .     “.          ‘
                                                                                                                                                          0.00                                      0.00
       (RATEPERHOUR=S                                    )   TOTALS:                       0.00                                                           0.00                0.00                  0.00
17.    Travel Expenses (lodging, parking, meals, mileage, etc.)
18.    Other Expenses (other than expert, transcripts, etc.)
                                                                                                                                                          0.00                                      0.00
GRAND TOTALS (CLAIMED AND ADJUSTED):
19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                           20. APPOINTMENT TERMINATION DATE                                                          21. CASE DISPOSITION
                                                                                                            IF OTHER THAN CASE COMPLETION
      FROM:                                             TO:
22. CLAIM STATUS                  U Final Payment                 U Interim Payment Number                                                                             LI Supplemental Payment
      Have you previously applied to the court for compensation and/or reimbursement for tIns     LI YES     U NO            If yes, were you paid?     LI YES U NO
      Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation oranyiliing of value) from any oilier source in connection with this
      representation? C YES         U NO            If yes, give details on additional sheets.
      I swear or affirm the truth or correctness of the above statements.
      Signature of Attorney                                                                                                                                                 Date

                                                          APPROVED FOR PAYMENT                              —               COURT USE ONLY
23. IN COURT COMP.                   24. OUT OF COURT COMP.             25. TRAVEL EXPENSES                                         26. OTHER EXPENSES                                 27. TOTAL AMT. APPR./CERT.
                                                                                                                                                                                       $0.00
28. SIGNATURE OF THE PRESIDING JUDGE                                                                                                DATE                                               28a. JUDGE CODE


29 IN COURT COME                     30. OUT OF COURT COME.             31 TRAVEL EXPENSES                                          32. OTHER EXPENSES                                 33. TOTAL AMT. APPROVED
                                                                                                                                                                                       $0.00
34 SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Paymein approved                                                        DATE                                               34a. JUDGE CODE
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